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UNITED STATES DISTRICT COURT
'CENTRAL DISTRICT OP CALIPORNIA

 

 

 

 

 

UNITED ST_ATES op AMERICA CASE NUMBER: , , ,
v. PLAIN,TIFF eaeele~»c»::;>o;
‘t"a£;l casteaaa theme REPORT COMMEN¢NG QKIM§AL
_ DEFENDANT ACTION §§ w
»e-ae---
' ' 51 §§ w § §§
TO: CLERK S OF.FICE,U.S. DISTRICT COURT - 7 77 7 7 7 7 77 7 77 7 77 7 77 7 77 7 77 77§1§‘@77“‘ 7 §§ 7 7
All areas must be completed Any area not applicable or unknown should indicate "N/A§§ :;§ § §
. ~ _ - °;§)o“ acq gap
1. Dateand time ofarrest: ®/{C§/Z{;){§, ”7;@§? EAM []PM §§ :
" §§ we 7
2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or

 

 

any other preliminary proceedings }:1 Yes 7 § No
3. Defendant is in U.S. Marshals Service lock-up (in this court building): g Yes [_`_l No

4. Charges under Which defendant has been booked:

lz?? U§Clz\ §2§(€‘1§/25 l/§e>!/i§:b i~:"l' }QM:l”tc)ca 56 ‘:.:7\/7 lOé E‘”f`?`£t`c >l/l§,fi

§§ esa g;z,;; §§ @;~;> §§ G:>> )C); t&§»>ec»,:a};~@ 1;>{$ Cl»`>i?l<:)l' ~Y€‘ce§f`?a tell
5. Offense charged ls a: ‘>E§ del lony (:1`_"] Minor Offense [§ Petty Offense [] Other Misdemeanor

6. Interpreter Required: @No

  

Yes Language:

 

77 Year of Birth: §§ §§

` 8. Defendant has retained counsel: § NQ

[:i Yes Name: Phone Number:

 

 

9- Name of Pretrial Services Oft`lcer notified §§ gay [`)§Q €~c pa ,c»

 

10. Remarks (if any):

 

11' Name: (\l::¢\m<;§\@x §P@e:‘§;? (please print)
12. Oft`lce Phone Number: j iq T q:>,;, § q l;lzj
14. Signature§é;?©z§Q/jf

CR~64 (2/14) y

13- AS€HCY= H%:

15. Date: {@/§§;//Z?:)l Cz

 

 

REPORT COMMENCING CRIMINAL ACTION

 

